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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK

 DEANNA MARLENE BELLAVIA aka
 DEANNA KING,

                              Plaintiff,
                                                                        NOTICE OF MOTION
              vs.
                                                                         Case No.: 22-CV-842
 ORLEANS COUNTY, ORLEANS COUNTY SHERIFF’S
 DEPARTMENT, ORLEANS COUNTY DISTRICT
 ATTORNEY, COREY BLACK, DEPUTY JOHN DOE, and
 DAVID BELLAVIA,

                              Defendant.


         Defendant, David Bellavia (“Mr. Bellavia”), hereby moves this Court for an order
dismissing the Complaint as against him and for an order striking paragraphs “11” through “17”
and "18 through "28" of the Complaint.


 RELIEF SOUGHT:                    1.      Dismissal of complaint as against Mr. Bellavia pursuant
                                           to Fed. R. Civ. P. 12(b)(6) because the Complaint fails
                                           to state a cause of action upon which relief can be
                                           granted; or, if such relief is not granted,
                                   2.      An order striking Paragraphs “11” through “17” and "18
                                           through "28" of the Complaint pursuant to Fed. R. Civ.
                                           P. 12(f), because those paragraphs are scandalous,
                                           unnecessary and highly prejudicial and are in
                                           contravention of the parties' Judgment of Divorce, dated
                                           December 28, 2021 and written Custody, Support and
                                           Property Settlement Agreement filed December 7, 2021.

 PAPERS SUBMITTED:                         Memorandum of Law dated December 22, 2022 and the
                                           Bellavia's Judgment of Divorce, dated December 28,
                                           2021 and written Custody, Support and Property



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                                    Settlement Agreement filed December 7, 2021, and
                                    associated protective orders.
 REPLY PAPERS:                      Pursuant to Rule 7(b)(2)(B) of the Local Rules of Civil
                                    Procedure for the Western District of New York,
                                    Plaintiff shall file and serve Responding papers fourteen
                                    (14) days after service of this motion; Defendant,
                                    Mr. Bellavia intends to serve Reply papers seven (7)
                                    days after service of the Plaintiff's Responding papers.


 LOCATION:                          United States District Court for the Western District of
                                    New York, 2 Niagara Square, Buffalo, New York,
                                    14202-8154

Dated: December 22, 2022                         WOODS OVIATT GILMAN LLP
Rochester, New York

                                                 By:    /s/ Donald W. O’Brien
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